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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
                               SACRAMENTO DIVISION

 JOHN ANTHONY CASTRO                                 )
 12 Park Place, Mansfield, TX 76063                  )
                                                     )
       Plaintiff,                                    )
                                                     )
 v.                                                  )
                                                     )           Case No. 2:23-cv-02172
 SECRETARY OF STATE SHIRLEY WEBER                    )
 1500 11th Street, Sacramento, California 95814      )
                                                     )
 DONALD JOHN TRUMP                                   )
 1100 S. Ocean Blvd, Palm Beach, FL 33480            )
                                                     )
       Defendants.                                   )



                                   NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff files this notice of dismissal before

either opposing party has either served an answer or motioned for summary judgement.




                                                     Respectfully submitted,

Dated: December 7, 2023.                     By:     /s/ John Anthony Castro
                                                     John Anthony Castro
                                                     12 Park Place
                                                     Mansfield, TX 76063
                                                     Tel. (202) 594 – 4344
                                                     J.Castro@CastroAndCo.com
                                                     Plaintiff Pro Se
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                                 CERTIFICATE OF SERVICE

         On December 7, 2023, I submitted the foregoing document with the Clerk of this Court.
It is further certified that all other parties are CM/ECF users and that service of this motion will be
made upon them via CM/ECF. If not, they will be served via U.S. postal mail.



                                                       /s/ John Anthony Castro
                                                       John Anthony Castro
